Case 3:17-cr-00068-RGJ Document 119 Filed 01/12/18 Page 1 of 4 PageID #: 538




                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE
                          CRIMINAL ACTION NO. 3:17-CR-68-TBR


UNITED STATES OF AMERICA,                                                             PLAINTIFF

v.

SHELBY STRONG, et al.,                                                            DEFENDANTS


                         MEMORANDUM OPINION AND ORDER

       This matter comes before the Court upon Motion by Defendant Shelby Strong (“Strong”)

for notification of the United States’ intention to use evidence of other crimes, wrongs, or acts

under Federal Rule of Evidence 404(b). [DN 93.] The United States has responded. [DN 104.]

This matter is ripe for adjudication. For the following reasons, IT IS HEREBY ORDERED that

Strong’s Motion [DN 93] is DENIED.

                                          I. Background

       This case arises out of an alleged conspiracy amongst various individuals, including

Strong, to purchase firearms in Kentucky and Indiana for resale and/or distribution to individuals

prohibited from possessing firearms due to past felony convictions. [DN 53.] In a forty-count

Superseding Indictment filed by the United States on November 21, 2017, Strong was charged in

thirty-one of them. [See id.] Strong has been charged with one count of conspiracy to possess a

firearm by a prohibited individual; thirteen counts of being an unlawful user of a controlled

substance while in possession of a firearm; eleven counts of making a false and fictitious written

statement intended to deceive a firearms dealer regarding substance abuse in purchasing a

firearm; one count of dealing in firearms by an unlicensed seller; one count of traveling across

state lines with the intent to deal in firearms; and four counts of aiding and abetting the sale and

                                                 1
Case 3:17-cr-00068-RGJ Document 119 Filed 01/12/18 Page 2 of 4 PageID #: 539




disposal of a firearm. [See generally id.] The Superseding Indictment also includes charges

against four other individuals: Chicoby Summers, Jerlen Horton, Derrick Hammond, and

Lakeshia Watts. [See id.] Strong has filed the instant Motion in an effort to compel the United

States’ production of any Rule 404(b) evidence it intends to use at trial, asking this Court to

order the production of any such evidence at least thirty days before trial. [DN 93, at 1.]

                                        II. Legal Standard

        Federal Rule of Evidence 404(b)(1) provides that “[e]vidence of a crime, wrong, or other

act is not admissible to prove a person’s character in order to show that on a particular occasion

the person acted in accordance with the character.” Subsection (2) provides that “[t]his evidence

may be admissible for another purpose, such as proving motive, opportunity, intent, preparation,

plan, knowledge, identity, absence of mistake, or lack of accident.” Id. It goes on to note that,

[o]n request by a defendant in a criminal case, the prosecutor must: (A) provide reasonable

notice of the general nature of any such evidence that the prosecutor intends to offer at trial; and

(B) do so before trial—or during trial if the court, for good cause, excuses lack of pretrial

notice.” Id.

                                          III. Discussion

        In the present action, Strong has asked this Court to order the United States to turn over

any Rule 404(b) evidence no later than thirty days before trial. [DN 93, at 1.] In response, the

United States suggests that fourteen days is more in line with Rule 404(b)(2)’s “reasonable

notice” requirement. The Court will split the difference.

        Courts have held that time periods less than one month fall within the realm of what

constitutes “reasonable notice” under Rule 404(b). See, e.g., United States v. French, 974 F.2d

687, 694 (6th Cir. 1992) (trial court did not abuse its discretion in allowing the United States to



                                                 2
Case 3:17-cr-00068-RGJ Document 119 Filed 01/12/18 Page 3 of 4 PageID #: 540




disclose 404(b) evidence seven days before trial); see also United States v. Kern, 12 F.3d 122,

124 (8th Cir. 1993) (“The government gave the defendants adequate notice that it planned on

using Rule 404(b) evidence” when it disclosed relevant documents one week before trial.) Some

courts have held that two weeks’ notice satisfies the “reasonable notice” requirement in Rule

404(b). See, e.g., United States v. Fennell, 496 F. Supp. 2d 279, 284 (S.D.N.Y. 2007) (explaining

that the government’s agreement to disclose Rule 404(b) evidence two weeks before trial was

sufficient.). Still other courts have held that three weeks is sufficient. See, e.g., United States v.

Pelini, 896 F. Supp. 795, 797 (N.D. Ill. 1995) (“Regarding Rule 404(b), the government has

agreed to provide said notice three weeks before trial, which satisfies the Rule 404(b)

reasonableness requirement.”).

       Out of an abundance of caution, and due to the fact that Strong has been charged with

thirty-one of the forty counts in the Superseding Indictment, the Court will order the United

States to disclose Rule 404(b) evidence to Strong no later than three weeks, or twenty-one days,

before the commencement of the trial in this matter. Twenty-one days serves to both satisfy the

“reasonable notice” requirement in Rule 404(b), and also provide a strong buffer designed to

prevent any prejudice to Strong that could come with late notice by the United States with

respect to such evidence. Moreover, the Court is satisfied that the United States understands and

appreciates its obligations under Rule 404(b), which include disclosure of such evidence, as well

as a continuing duty to supplement such disclosures where necessary.

                                          IV. Conclusion

       For the reasons stated in this Memorandum Opinion and Order, IT IS HEREBY

ORDERED that Strong’s Motion for Disclosure [DN 93] is DENIED.




                                                  3
Case 3:17-cr-00068-RGJ Document 119 Filed 01/12/18 Page 4 of 4 PageID #: 541




          IT IS FURTHER ORDERED that the United States SHALL disclose any Rule 404(b)

evidence to Strong no later than three weeks before the commencement of the trial in this

matter.

          IT IS SO ORDERED.




                                            January 11, 2018




cc:       Counsel of Record




                                           4
